
890 So.2d 369 (2004)
J. M., a child, Appellant,
v.
STATE of Florida, Appellee.
No. 4D03-3870.
District Court of Appeal of Florida, Fourth District.
December 22, 2004.
*370 Carey Haughwout, Public Defender, and Ian Seldin, Assistant Public Defender, West Palm Beach, for appellant.
Charles J. Crist, Jr., Attorney General, Tallahassee, and Melynda L. Melear, Assistant Attorney General, West Palm Beach, for appellee.
TAYLOR, J.
J.M., a child, was found guilty of grand theft of a goped. The trial court withheld adjudication of delinquency and placed him on probation. J.M. appeals, contending that the court erred in denying his motion for judgment of acquittal on the grand theft charge because the state failed to establish that the value of the stolen goped exceeded $300.00. Section 812.014(2)(c)1, Florida Statutes. We agree and reverse.
At trial, the only evidence introduced by the state concerning the value of the stolen goped was the owner's testimony that he paid between $315 and $320 for the vehicle when he purchased it three to four months before the subject theft. Although the owner would have been competent to testify as to the market value of the goped, his sole reference to the cost of the goped was insufficient to establish that the goped's fair market value was $300 or more at the time it was stolen. As such, the defendant's motion for judgment of acquittal on the grand theft charge should have been granted. See D.H. v. State, 864 So.2d 588, 589 (Fla. 2d DCA 2004); Soderman v. State, 844 So.2d 823, 823-24 (Fla. 5th DCA 2003); Raynor v. State, 341 So.2d 998 (Fla. 4th DCA 1976).
Accordingly, we reverse the finding that J.M. was guilty of grand theft, and remand with directions to find J.M. guilty of the lesser offense of petit theft and enter disposition accordingly. See Soderman, 844 So.2d at 823-24; Randolph v. State, 608 So.2d 573, 575 (Fla. 5th DCA 1992).
REVERSED.
STONE and HAZOURI, JJ., concur.
